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                                                                   1   Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                       Teddy M. Kapur (CA Bar No. 242486)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   3   Los Angeles, CA 90067
                                                                       Telephone: 310/277-6910
                                                                   4   Facsimile: 310/201-0760
                                                                       E-mail: jdulberg@pszjlaw.com
                                                                   5            tkapur@pszjlaw.com

                                                                   6   Counsel to the Official Committee of
                                                                       Unsecured Creditors
                                                                   7

                                                                   8
                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                             LOS ANGELES DIVISION
                                                                  11    In re:                                           Case No.: 2:21-bk-16674-ER
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    JINZHENG GROUP (USA) LLC,                            Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                         NOTICE OF HEARING ON
                                           ATTORNEYS AT LAW




                                                                                          Debtor and Debtor in Possession.   APPLICATIONS OF: (1) PACHULSKI
                                                                  14                                                         STANG ZIEHL & JONES LLP; AND
                                                                                                                             (2) DANNING, GILL, ISRAEL &
                                                                  15                                                         KRASNOFF, LLP FOR INTERIM
                                                                                                                             COMPENSATION AND
                                                                  16                                                         REIMBURSEMENT OF EXPENSES

                                                                  17
                                                                                                                             Hearing Date and Time:
                                                                  18
                                                                                                                             Date: November 9, 2022
                                                                  19                                                         Time: 10:00 a.m.
                                                                                                                             Place: Courtroom 1568
                                                                  20
                                                                                                                                    U.S. Bankruptcy Court
                                                                  21                                                                255 E. Temple Street
                                                                                                                                    Los Angeles, CA 90012
                                                                  22

                                                                  23   TO THE HONORABLE ERNEST ROBLES, UNITED STATES BANKRUPTCY JUDGE,
                                                                       THE DEBTOR, THE OFFICE OF THE UNITED STATES TRUSTEE, AND PARTIES
                                                                  24   REQUESTING SPECIAL NOTICE:

                                                                  25             PLEASE TAKE NOTICE that a hearing will be held on November 9, 2022 at 10:00 a.m. in
                                                                  26   Courtroom 1568, 255 East Temple Street, Los Angeles, CA 90012 before the Honorable Ernest
                                                                  27   Robles for the Court to consider and act upon the applications (the “Applications”) of various
                                                                  28


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                                                                   1   professionals employed in or in connection with the above-captioned case (the “Professionals”) for

                                                                   2   approval of compensation and reimbursement of expenses.

                                                                   3           PLEASE TAKE FURTHER NOTICE that copies of the Applications filed by the

                                                                   4   Professionals identified below are on file with the Clerk of the United States Bankruptcy Court, 255

                                                                   5   East Temple Street, Los Angeles, California 90012 and available for inspection during the Court’s

                                                                   6   normal business hours and may also be obtained by a party in interest upon specific request to Beth

                                                                   7   Dassa, Paralegal, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los

                                                                   8   Angeles, California 90067, Telephone: 310/277-6910, Facsimile: 310/201-0760, email:

                                                                   9   bdassa@pszjlaw.com.

                                                                  10           The compensation requested by Professionals in the Applications is as follows:

                                                                  11           Pachulski Stang Ziehl & Jones LLP (“PSZJ”)
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           PSZJ, general bankruptcy counsel to the Official Committee of Unsecured Creditors of
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Jinzheng Group (USA), LLC (the “Debtor”), is seeking approval of interim compensation for the
                                           ATTORNEYS AT LAW




                                                                  14   period of January 25, 2022 through September 30, 2022 in the amount of $375,297.56, consisting of

                                                                  15   $371,255.40 in fees incurred and $4,042.16 in expenses advanced.

                                                                  16           Danning, Gill, Israel & Krasnoff, LLP (“DGIK”)

                                                                  17           DGIK, general bankruptcy counsel to the Debtor, is seeking approval of interim

                                                                  18   compensation for the period of May 31, 2022 through September 30, 2022 in the amount of

                                                                  19   $163,369.03, consisting of $159,038.55 in fees incurred and $4,330.48 in expenses advanced.

                                                                  20           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(f),

                                                                  21   any response or opposition must be in writing and filed with the Court and served upon counsel to

                                                                  22   the appropriate Professional (see addresses below) no later than fourteen (14) days prior to the

                                                                  23   hearing date. Pursuant to Local Bankruptcy Rule 9013-1(h), the failure to timely file any response

                                                                  24   or opposition may be deemed by the Court to be consent to the approval of the Applications.

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                                                                   1   ADDRESSES FOR PROFESSIONALS

                                                                   2   Counsel to the Official Committee of Unsecured Creditors
                                                                   3   Teddy M. Kapur, Esq.
                                                                       Pachulski Stang Ziehl & Jones LLP
                                                                   4   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
                                                                   5   Email: tkapur@pszjlaw.com
                                                                   6   General Bankruptcy Counsel to the Debtor
                                                                   7   Zev Shechtman, Esq.
                                                                       Danning, Gill, Israel & Krasnoff, LLP
                                                                   8   1901 Avenue of the Stars, Suite 450
                                                                       Los Angeles, CA 90067
                                                                   9   Email: zs@DanningGill.com
                                                                  10
                                                                        Dated:    October 19, 2022                PACHULSKI STANG ZIEHL & JONES LLP
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                              By       /s/ Teddy M. Kapur
                                                                                                                           Jeffrey W. Dulberg
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                           Teddy M. Kapur
                                                                  14                                                       Counsel to the Official Committee of
                                                                                                                           Unsecured Creditors
                                                                  15

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                                           PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): NOTICE OF HEARING ON APPLICATIONS OF:
 (1) PACHULSKI STANG ZIEHL & JONES LLP; AND (2) DANNING, GILL, ISRAEL & KRASNOFF, LLP FOR INTERIM
 COMPENSATION AND REIMBURSEMENT OF EXPENSES will be served or was served (a) on the judge in chambers in
 the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 October 19, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                           Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) October 19, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.


                 JINZHENG GROUP (USA) LLC                                           Michael Douglas Carlin
                 1414 S. Azusa Avenue, Suite B-22                                   Post Office Box 67132
                 West Covina, CA 91791                                              Los Angeles, CA 90067

                                                                                           Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 19, 2022, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

             VIA FEDERAL EXPRESS
             United States Bankruptcy Court
             Central District of California
             Attn: Hon. Ernest Robles
             Edward R. Roybal Federal Bldg./Courthouse
             255 East Temple Street, Suite 1560
             Los Angeles, CA 90012
                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 19, 2022              Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                          Printed Name                                                    Signature




             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:21-bk-16674-ER
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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          75251@notify.bestcase.com
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         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
         Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov


2.        TO BE SERVED BY EMAIL

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         Donald W. Reid – don@donreidlaw.com
         Damian J. Martinez - damian.martinez@aalrr.com




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June 2012                                                                             F 9013-3.1.PROOF.SERVICE
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